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       In the United States Court of Federal Claims
  * * * * * * * * * * * * * * *                *
  BAE SYSTEMS TECHNOLOGY                       *
  SOLUTIONS & SERVICES, INC.,                  *
                                               *
                        Plaintiff,             *
                v.                             *           No. 12-700C
                                               *           Filed: April 10, 2015
  UNITED STATES,                               *
                                               *
                       Defendant.              *
                                               *
  * * * * * * * * * * * * * * *

                                        ORDER

       The court is in receipt of parties’ April 10, 2015 joint stipulation of dismissal with
prejudice. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of
Federal Claims (2014), this court ORDERS that this case be DISMISSED with prejudice,
with each party to bear its own costs, expenses, and attorney’s fees. The Clerk of the
Court shall enter JUDGMENT consistent with this Order.


       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
